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                           Exhibit C
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                                                May 8, 2020

VIA EMAIL

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          Re:     Ubiquiti Inc. v. Cambium Networks, Inc. et al., Case No. 18-cv-05369 (N.D. Ill.),
                  Meet and Confer re: Improper Attorneys’ Eyes Only Designations in Defendants’
                  Production Served March 3, 2020


Counsel:

       We write concerning Defendants’ designation of their entire production served March 3,
2020 (CMBM-00000001-00178279) as “CONFIDENTIAL RESTRICTED – ATTORNEYS’
EYES ONLY.”1 In accordance with Paragraph 20(a) of the Agreed Confidentiality Order (Dkt.
No. 102) (the “Protective Order”), this letter contains our explanation as to why these AEO
designations are wholly improper. This letter also commences the five (5) day period in which
Defendants may review the challenged designations as part of the “Meet and Confer” process
under the Protective Order.

       As a general proposition, the blanket and indiscriminate designation of Defendants’
voluminous production as AEO fails to comply with the terms of the Protective Order and
applicable law, and in so doing operates to obstruct Ubiquiti’s preparation for trial. There is no

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    The “ATTORNEYS’ EYES ONLY” designation will be abbreviated in this letter as “AEO.”

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legal basis for such a misuse of confidentiality designations under either the Federal Rules or the
Protective Order. Indeed, even in cases involving proprietary intellectual property, courts in the
Northern District of Illinois and elsewhere recognize that making excessive AEO designations is
a sanctionable form of discovery abuse. See e.g., THK Am., Inc. v. NSK Co. Ltd., 157 F.R.D. 637,
645 (N.D. Ill. 1993) (“Defendants have produced between 75,000 and 90,000 pages of
documents . . . at least 79% of [which] were designated as ‘Attorney’s Eyes Only.’ This is
absurdly high”); see also id. at 647-50 (sanctioning defendants and ordering that they must pay
plaintiff’s attorneys’ fees and have “lost the right” to use AEO designations); Team Play, Inc. v.
Boyer, 03 C 7240, 2005 WL 256476, at *1 (N.D. Ill. Jan. 31, 2005) (sweeping AEO designations
“can be a form of discovery abuse and result in the blanket modification of a protective order as
well as the imposition of sanctions on the designating party”); Healthtrio, LLC v. Aetna, Inc.,
No. 12-cv-03229, 2014 WL 6886923, at *3-5 (D. Col. Dec. 5, 2014) (sanctioning defendant who
designated 90% of production as AEO: “nearly everything Defendants have produced in
discovery is off-limits not only to Plaintiff and Plaintiff’s in-house counsel, but also to the
specific corporate officers designated for access to Confidential documents”); Procaps S.A. v.
Patheon Inc., No. 12-cv-24356, 2015 WL 4430955, *7 (S.D. Fla. July 20, 2015) (“designation
percentages of 95%—such as the rate used here by Procaps—have frequently been condemned”)
(ordering designating party’s law firm to pay opponent’s reasonable attorneys’ fees); In re Ullico
Inc., 237 F.R.D. 314, 317-18 (D.D.C.2006) (99% “confidentiality” designation rate was a
“gross” “abuse” that “unfairly burdened” the opposing party).

          The Protective Order in this case limits AEO designations to “Confidential Information
. . . so sensitive that its dissemination to those individuals identified in 14(b)(2) and 14(b)(7)
would cause demonstrable harm to the Producing Party.” 2 Defendants cannot establish
demonstrable harm over the materials it has designated as AEO, many of which include non-
substantive documents and communications relating to the ordering of clothing with the Elevate
logo (CMBM-00070089; CMBM-00012411), out-of-office e-mail replies (CMBM-00166669),
responses to outlook calendar invitations (CMBM-00024835), airfare information (CMBM-
00028777), and numerous other examples. Moreover, even as related to substantive documents
included in Defendants’ production to date (such as invoices for Elevate licenses, customer
communications, and general marketing plans and revenue data), many are years old by now
(and thus do not identify current development efforts). The designation of such historical
materials as AEO is improper, as there exists no demonstrable harm that would be caused if such
materials were to be viewed by a limited number of Ubiquiti employees under Paragraph
14(b)(2) (if such documents were designated as confidential instead of AEO). See Glob. Material
Techs., Inc. v. Dazheng Metal Fibre Co., Ltd., 133 F. Supp. 3d 1079, 1085-86 (N.D. Ill. 2015)
(invoices and pricing data that were more than four years old would not cause commercial harm
warranting AEO designation) (citing United States v. Int’l Bus. Mach. Corp., 67 F.R.D. 40, 46

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    The individuals identified in Paragraph 14(b)(2) and 14(b)(7) are “Individual parties and up to 2 in-house counsel
    . . .” and “witnesses at depositions,” respectively.


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(S.D.N.Y.1975) (“disclosure of two-and-a-half-year-old sales data” will not result in a “clearly
defined, serious injury”).

        Defendants’ sweeping designation of its entire production as AEO is not only a violation
of the Protective Order, it effectively prevents Ubiquiti from consulting with its counsel relating
to whether the documents produced support its legal theories, inform the damages Ubiquiti has
incurred as a result of Defendants’ violations of law, and illustrate a reasonable settlement range
in preparation for the parties’ eventual settlement conference. See Glob. Material Techs, 133 F.
Supp. 3d at 1088 (trial preparation is made more difficult and expensive when a party’s attorney
is unable to share with the party facts that are material to its prosecution of the case); Team Play,
supra, at *1 (“if [AEO] designation is not removed, Boyer’s counsel will be prohibited from
discussing the damages aspect of his case with their client and Boyer will have no information on
which to make an intelligent decision as to what a reasonable settlement figure might be”).

        Defendants made no effort to comply with the Protective Order by distinguishing
materials they believe in good faith could cause demonstrable harm from those materials that
could be produced under less restrictive (or no) confidentiality designation. Accordingly,
Ubiquiti hereby requests that Defendants withdraw their designation of all documents produced
on March 3 as AEO. See Healthtrio, LLC, supra at *3 (endorsing blanket challenge instead of
challenge to individual pages and documents where defendants acted in bad faith by
“indiscriminately designating nearly their entire production” as AEO); Procaps, supra at *8
(inequitable to shift burden to the receiving party to specifically identify precise documents it
wants designating party to re-review). This request is made without prejudice to Ubiquiti’s right
to revisit any re-designations made by Defendants in response to this letter. Additionally, in the
event the challenged designations are not reconsidered by Defendants, or otherwise adequately
explained, please be advised that Ubiquiti intends to raise Defendants’ violations of the
Protective Order and the Federal Rules with the Court so that Ubiquiti may adequately prepare
for the upcoming settlement conference and/or continuing litigation of this matter.

       Please let us know if you have any questions. We are also available if you wish to
schedule a telephonic meet and confer to discuss this matter.


                                              Very truly yours,
                                              /s/ Steven J. Reynolds
                                              Steven J. Reynolds

cc:    David E. Koropp (dkoropp@foxswibel.com)
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